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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

GENIE INVESTMENTS, NV, INC.

CASE NO.:3:24-bk-00496-BAJ
Debtor(s).

DEBTOR’S OBJECTION TO AMENDED CLAIM 4 OF BELLE MAISON REALTY, LLC

NOTICE OF OPPORTUNITY TO
OBJECT AND REQUEST FOR HEARING

If you object to the relief requested in this paper you must file a response with the Clerk of the Court at 300
N. Hogan Street, Suite 3-150, Jacksonville, Florida 32202, and serve a copy on the movant’s attorney Bryan K.
Mickler, 5452 Arlington Expressway, Jacksonville, Florida 32211 within 30 days from the dare of the attached proof
of service, plus an additional three days if this paper was served on any party by U.S. Mail.

If you file and serve a response within the time permitted, the Court will either notify you of a hearing dated
or the Court will consider the response and grant or dent the relief requested in this paper without hearing. If you do
not file a response within the time permitted, the Court will consider that you do not oppose the relief requested in the
paper, and the Court may grant or deny the relief requested without further notice or hearing.

You should read these papers carefully and discuss them with your attorney if you have one. If the paper is
an objection to your claim in this bankruptcy case, your claim may be reduced, modified, or eliminated if you do not
timely file and serve a response.

The Debtor objects to Claim 4 filed by Belle Maison Realty, LLC (Acct No.: “0000”). The Debtor
would show that the original claim filed by this creditor was in the amount of $70,000.00. That
amount matched the documentation attached to the Proof of Claim as the amount which was
provided by the creditor to Genie as part of the loan process.

The amended proof of claim sets forth an amount of “$3M due to Belle Maison Realty
LLC due from Genie Investments, on basis of fraud and misrepresentation”. The creditor
committee member is making a fraudulent claim is not entitled to any amount beyond the pre-
petition payments made to Genie as provided for in the loan documents.

The Debtor would show that the claim amount should be allowed at $70,000.00.
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PROOF OF SERVICE

Bryan K. Mickler, under penalty of perjury, states that a copy of the foregoing Objection was

furnished by either U.S. Mail, postage prepaid or CM/ECF electronic filing to:

United States Trustee Office
400 W. Washington Street, Suite 1100
Orlando, Florida 32801

which is the place they regularly conduct their business; and to:

Belle Maison Realty, LLC

c/o Lea Muse, Owner/Managing Agent
1133 E. 83 Street 171

Chicago, IL 60619

which is the place she regularly conducts her business.

this \A day of June, 2024.

BRYAN K. MIC
Attorney for Debtor
5452 Arlington Expresswa
Jacksonville, FL 32211
(904) 725-0822/FAX: 725-0855
Florida Bar No. 091790

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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

IN RE:

GENIE INVESTMENTS NV, INC.
CASE NO.:3:24-bk-00496-BAJ
Debtor(s).

DECLARATION CONCERNING DEBTOR’S OBJECTION
TO CLAIM 4 OF BELLE MAISON REALTY, LLC

I declare under penalty of perjury that the foregoing is true and correct.

Executed on: 06-17-2024

Signature: Qehe Wlechack Cohan

JohnfMlichael Cohan , as Director

